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                           EXHIBIT A


                         Motion to Modify
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                                                                                               5/27/2022 11 :59 AM
                                                                                                     Velva L. Price
                                                                                                     District Clerk
                                                                                                    Travis County
                                    Cause No.: D-1-GN-18-1835                                   D-1-GN-18-001835
                                                                                                 Victoria Benavides

 NEIL HESLIN and SCARLETT LEWIS,                                   IN THE DISTRICT COURT OF

       Plaintiffs,

 V.
                                                                      TRAVIS COUNTY, TEXAS,
 ALEX E. JONES, INFOWARS, LLC,
 FREE SPEECH SYSTEMS, LLC, and OWEN
 SHROYER,
                                                                      261st JUDICIAL DISTRICT
       Defendants,


                                    Cause No.: D-1-GN-18-1842

 LEONARD POZNER and VERONIQUE DE                                   IN THE DISTRICT COURT OF
 LAROSA,

       Plaintiffs,

 V.                                                                   TRAVIS COUNTY, TEXAS,

 ALEX E. JONES, INFOWARS, LLC, &
 FREE SPEECH SYSTEMS, LLC.

       Defendants,                                                    345th JUDICIAL DISTRICT




       DEFENDANTS' PARTIALLY UNOPPOSED MOTION TO CORRECT/MODIFY
      "ORDER ON ATTORNEY'S FEES FOR PLAINTIFFS' MOTION FOR SANCTIONS
                  REGARDING CORPORATE DEPOSTION [SIC["


           Alex Jones, Free Speech Systems, LLC ("FSS"), and Owen Shroyer, Defendants in the above

entitled and numbered causes, file this partially unopposed request that the Court modify its April 15,

2022, sanction order.

      I.      The Order should be modified to reflect that only FSS is being sanctioned.




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        On April 1, 2022 in Cause Numbers D-1-GN-18-001835 and D-1-GN-18-001842 the Court

issued an Order (the Sanctions Order) against "Defendants" arising from allegations that Defendant

FSS failed to properly produce a corporate representatives, awarding, among other things, attorneys

fees and costs.

        The Court's order provided that Plaintiffs could submit their claim for attorneys fees and costs

and further provided Defendants could file an objection on or before April 15, 2022.        Prior to the

deadline, on April 15, 2022, the Court issued a second Order in these cases requiring Defendants to

pay Plaintiffs as a sanction, $966,182.73 in the aggregate (the "Second Order").

        The Order is titled "Order on Attorney's Fees for Plaintiffs' Motion For Sanctions Regarding

Corporate Depostion [Sic]." In paragraph two of the Order the Court writes "Defendants shall pay."

The Court's use of the plural rather than the singular has prompted Defendants to file this partially

unopposed motion 1, requesting that the Court correct its use of the plural so that the order is directed

only at Defendant FSS and not Alex Jones or Owen Shroyer.

        As written, the sanctions ordered by the Court apply to all Defendants, including Alex Jones

and Owen Shroyer. Jones and Shroyer are natural persons who were sued in their individual capacity.

Neither had the obligation to produce a corporate representative for deposition nor were either Jones

or Shroyer asked to do so.

        Trial courts may not impose sanctions against parties from whom discovery was not sought.

See Arkla, Inc. v. Harris, 846 S.W.2d 623, 628-29 (Tex. App.-Houston [14th Dist.] 1993, orig.

proceeding) (immediate trial setting constitutes improper sanction when not all parties participated in

discovery abuse); Ramirez v. Otis Elevator Co., 837 S.W.2d 405,411 (Tex. App.-Dallas 1992, writ




1Plaintiffs' agree that the Order should not apply to Mr. Shroyer but dispute whether it should
apply to Mr. Jones.


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denied) ("extent of the parties' personal responsibility" is one factor to consider in determining

whether death penalty sanctions are proper).

          Jones and Shroyer are not complaining about the effect that the sanction on their corporate

co-defendant will have on them indirectly; rather, the glaring issue is that, unless the Order is

corrected, they are being asked to pay the amount individually.

          It is inappropriate to hold one party liable for another party's misconduct. Bodnow Corp. v.

Hondo, 721 S.W.2d 839, 840 (Tex. 1986). In Hondo, it was held inappropriate to impose joint and

several liability on an intervenor for the misconduct of other plaintiffs. Id. The Court reasoned,

"[m]aking a party liable for discovery expenses that are caused by another party's misconduct does

not further any of the purposes that discovery sanctions were intended to further." Id. The Texas

Supreme Court has repeatedly reaffirmed this principle. Sanctions must be imposed against the "true

offender." Am. Flood Research, Inc. v. Jones, 192 S.W.3d 581, 583 (Tex. 2006). The direct

relationship requirement "means that the sanction should be visited on the offender," and the trial

court must attempt to determine against whom "the offensive conduct is attributable." TransAmerican

Nat. Gas Corp. v. Powell, 8II S.W.2d 913, 917 (Tex. I99I). Because there is no evidence that Mr.

Jones or Mr. Shroyer committed any wrongdoing viz-a-viz the corporate representative deposition,

neither was the true offender.

    II.      If paid now, the sanctions would materially impair Defendants' ability to continue

             the litigation.

          Under Braden v. Downey, 8II S.W.2d 922 (Tex. I99I) this Court should either defer the

payment deadline until rendition of an appealable judgement or hold a hearing and make specific

written findings about the impact payment would have on Defendants' willingness and ability to

continue the litigation through appeal.




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           Under Texas Rule of Civil Procedure 215.2 sanctions orders are generally not reviewed on

mandamus because the sanctioned party has an adequate remedy on appeal. However, large sanction

awards that have the potential to materially burden a party's access to the courts, such as the one

issued by the Court here, do have some procedural safeguards. These safeguards exist because

"monetary sanctions should not ordinarily be used to dispose of litigation." Id. at 929. So, when the

imposition of a sanction threatens a party's ability to continue the litigation through appeal, it should

be deferred until entry of a final judgement, or the Court should hold a hearing and issue specific

findings as to why the award will not have a preclusive effect on Defendants' willingness and ability

to continue the litigation. Id. Finally, when a sanction is so large as to expose risk of repayment if

reversed on appeal, payment should be deferred until entry of final judgment.

    III.      Conclusion

           Defendants request that the Court issue an Order modifying its previous order to make it

effective only against FSS and defer payment until entry of final judgment. If the Court chooses

not to defer payment, Defendants request that the Court hold a hearing and issue specific written

findings regarding whether ordering immediate payment will burden Defendants' access to the

courts.




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                                                       Respectfully submitted this
                                                       27th day of May 2022,

                                                       /s/ F. Andino Reynal.
                                                       Federico Andino Reynal
                                                       SBN: 24060482
                                                       917 Franklin; Suite 600
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                                   CERTIFICATE OF SERVICE

       1 hereby certify that a true and correct copy of this document has been delivered this 27th
day of May 2022 (by electronic filing) to all counsel and parties of record on the e-filing system.

                                             Isl F. Andino Reyna!

                                             F. Andino Reynal



                                 CERTIFICATE OF CONFERENCE


       On May 26, 2022 I conferred by email with Plaintiffs' Counsel who indicated that they
agreed that the Court's Order should not apply to Owen Shroyer but believed it should apply to
Alex Jones and FSS and that the sanction should not be deferred.

                                             Isl F. Andino Reyna!

                                             F. Andino Reynal




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Associated Case Party: OWEN SHROYER
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